        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 1 of 29




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 LBH Engineers, LLC,

          Plaintiff,

 v.
                                           CASE NO. 1:19-cv-04477-LMM
 Archer Western Contractors, LLC,
 Archer Western Construction, LLC,
 Hubbard Construction Company,
 Northwest Express Roadbuilders,
 Parsons Corporation,
 Parsons Transportation Group Inc., and
 Heath & Lineback Engineers, Inc.,

          Defendants.

               DEFENDANTS’ MEMORANDUM BRIEF
      IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT




{B1327049.13}                        i
           Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 2 of 29




                                            TABLE OF CONTENTS

                                                                                                                        Page

I.         INTRODUCTION.......................................................................................... 1

II.        FACTUAL BACKGROUND ........................................................................ 1

      A.        The Asserted Claims Are Limited to Partially Precast Inverted-T
                Beams ........................................................................................................ 1

      B.        Furlong Disclosed a Partially Precast Inverted-T Beam in 1976.............. 3

III.       SUMMARY JUDGMENT STANDARD ...................................................... 6

IV.        ARGUMENT ................................................................................................. 7

      A.        Anticipation is a basis to invalidate an issued patent ................................ 7

      B.        Claim construction is no impediment to ruling on Defendants’
                Motion ....................................................................................................... 9

      C.        Furlong invalidates all of the Asserted Claims in the ’537 Patent.......... 11

           1.       Claim 1 ............................................................................................... 12

           2.       Claim 2 ............................................................................................... 20

           3.       Claim 3 ............................................................................................... 21

           4.       Claims 5-7 .......................................................................................... 24

V.         CONCLUSION ............................................................................................ 24




{B1327049.13}                                              ii
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 3 of 29




I. INTRODUCTION
         Plaintiff LBH Engineers, LLC (“LBH”) claims that Matthew Tyler Ley, Ph.D.

(“Ley”), invented the partially precast inverted-T beam claimed in U.S. Patent No.

8,578,537 (“the ’537 Patent”). In this lawsuit, LBH accuses Defendants of infringing

claims 1-3 and 5-7 (the “Asserted Claims”) of the ’537 Patent. The problem for LBH,

however, is that its Asserted Claims are invalid over prior art disclosing each element

of the claimed invention nearly 45 years ago. Accordingly, Defendants are entitled

to summary judgment invalidating those claims and dismissing this action with

prejudice.

II.      FACTUAL BACKGROUND
         A.     The Asserted Claims Are Limited to Partially Precast Inverted-T
                Beams.
         The ’537 Patent issued with seven (7) claims on November 12, 2013. Ex. 1,

’537 Patent at pp. 1 & 7.1 LBH only accuses Defendants of infringing six (6) of

these, claims 1-3 and 5-7. Ex. 2, LBH’s First Supp. Infringement Contentions at p. 3.

All of the Asserted Claims contain the following common, limiting criteria: a

structural concrete beam that (1) is an inverted-T beam, (2) has a “prefabricated



1
  In the interest of convenience and clarity, Defendants cite throughout the brief to
the actual supporting exhibits and declaration. These same supporting materials are
also cited and discussed in Defendants’ Statement of Undisputed Material Facts,
which is attached to the Motion in accordance with LR 56.1(B)(1).

{B1327049.13}                           1
         Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 4 of 29




structural concrete portion,” (3) has a “poured-in-place structural concrete portion,”

(4) has reinforcement extending from the prefabricated portion into the poured-in-

placed portion, and (5) has a sufficiently strong prefabricated portion to support its

own weight and the weight of the poured-in-place portion. Ex. 1, ’537 Patent at 5:43-

6:52.2

         The ’537 Patent includes an illustration of Ley’s “preferred embodiment” of

the alleged invention at Fig. 5 (color added):




The ’537 Patent describes this Fig. 5 as follows: “Beam 1 comprises a prefabricated

concrete portion 3 [(in yellow, called the “flange”)] and a conventional poured-in-

place concrete portion 4 [(in red, called the “web” or “stem”)].” Ex. 1, ’537 Patent

at 3:12-17.

         A precast structural concrete portion is a limitation in all of the Asserted

Claims. The ’537 Patent claims use the term “prefabricated” with reference to the

flange, but LBH uses this term interchangeably with (and apparently prefers to use)



2
    Pinpoint references to the ’537 Patent are cited as “[column no.]:[line no.].”

{B1327049.13}                             2
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 5 of 29




the term “precast” when referring to the lower flange (above in yellow) of the

inverted-T beam. See, e.g., Complaint [Dkt. No. 1] at ¶ 22 (“Dr. Ley’s partially

precast concrete beam inventions are recited in claims 1-7 of the ’537 Patent

(hereinafter, the ‘Partially Precast Concrete Beam Technology’”); id. at ¶ 31

(discussing 2013 presentation concerning the ’537 Patent titled “Partial Precast

Inverted T Cap,” attached to Complaint as Dkt. No. 1-2); Ex. 1, ’537 Patent at 3:18-

21 (“Prefabricated concrete portion 3 of beam 1 is preferably constructed at on off-

site facility utilizing any precasting or prefabrication method as are widely known

in the art, or as may be later developed.” (emphasis added)).

         B.     Furlong Disclosed a Partially Precast Inverted-T Beam in 1976.
         In August 1976, the Center for Highway Research at the University of Texas

at Austin published S.A.A. Wahidi’s and R.W. Furlong’s Report titled Behavior of

Stage-Cast Inverted-T Beams with the Precast Flange in Tension (“Furlong”). Ex. 3,

Furlong. The Texas State Department of Highways and Public Transportation, in

cooperation with the U.S. Department of Transportation Federal Highway

Administration, sponsored Furlong. Id. at Title Page (PTG-LBH_0206039).

Furlong itself states that “[t]his document is available to the public through the




{B1327049.13}                          3
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 6 of 29




National Technical Information Service….” Id.3 Because Furlong was published

nearly 30 years before the filing of the ’537 Patent, it is prior art to the ’537 Patent

under 35 U.S.C. § 102(b).4

         Furlong describes “[s]tage-cast inverted-T beams [] used as structural

members, such as bent cap girders in highway bridges….” Ex. 3, Furlong at p. 1.

Furlong was specifically “directed towards the behavior of a beam with a cast-in-

place web and a preloaded (precast) flange.” Id. at p. 4. The precast flange is cast so

that “web reinforcement extend[s] outside on top” of the flange, so that the cast-in-

place web may later be poured around that reinforcement. Id. at p. 13. The precast

portion of the inverted-T beam, or flange, supports “formwork, its own weight, and

the weight of the deck slab and web [cast-in-place portion] before the web gains

strength.” Id. at p. 1. In the annotated Fig. 1.1(a) from Furlong reproduced below,




3
  The Texas Department of Transportation Research Studies and Reports Catalog
also demonstrates Furlong was catalogued and publicly accessible as of at least
January 1992. Ex. 5, Listing of Research Studies & Reports at PTG-LBH_0207495.
4
 The ’537 Patent confirms that Ley and his attorneys never disclosed Furlong to the
patent examiner. Ex. 1, ’537 Patent at p. 1 (section [56] References Cited). The
patent examiner never had an opportunity to consider Furlong—something that
would have precluded issuance of the ’537 Patent.

{B1327049.13}                           4
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 7 of 29




the precast flange of the inverted-T beam is colored yellow, with the poured-in-place

web or stem colored red:5




         The partially precast inverted-T beam shown in Furlong’s Fig. 1.1(a) is

virtually identical to the preferred embodiment shown in Fig. 5 of the ’537 Patent,

with Furlong’s Fig. 1.1(a) showing the inverted-T beam in its completed

arrangement connected to piers and supporting the weight of girders and a deck slab.




                                                    ’537 Patent, Fig. 5

                  Furlong, Fig. 1.1(a)


5
 Defendants apply the same color convention to the prior art as they do to the
Asserted Claims for consistency and for the Court’s convenience.

{B1327049.13}                            5
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 8 of 29




III.     SUMMARY JUDGMENT STANDARD
         Summary judgment is proper if “there is no genuine issue as to any material

fact and the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.

P. 56(c). The moving party in a summary judgment motion bears the initial burden

of proving the absence of a genuine issue of material fact. See Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). If the moving party makes this initial showing,

the burden shifts to the non-moving party to “designate specific facts showing that

there is a genuine issue for trial.” Id. at 324 (citation omitted).

         In making a summary judgment determination, the Court must view the

evidence presented in the light most favorable to the non-moving party, drawing “all

justifiable inferences…in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

255 (1986). However, the nonmovant must advance “sufficient evidence favoring

the nonmoving party for a jury to return a verdict for that party” or else “there is no

issue for trial.” Id. at 249. If the nonmovant can muster only evidence that is “merely

colorable, or is not significantly probative,” summary judgment is appropriate. Id.

at 249-50.

         A patent claim is anticipated, and therefore invalid, if the claimed invention

was “described in a printed publication or in public use…more than one year prior

to the date of the application for patent in the United States.” 35 U.S.C. § 102(b).



{B1327049.13}                            6
        Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 9 of 29




“For a claim to be anticipated, each claim element must be disclosed, either

expressly or inherently, in a single prior art reference…..” Therasense, Inc. v.

Becton, Dickinson & Co., 593 F.3d 1325, 1332 (Fed. Cir. 2010). “Anticipation,

though a question of fact, may be resolved on summary judgment if no genuine issue

of material fact exists.” OSRAM Sylvania, Inc. v. Am. Induction Techs., Inc., 701

F.3d 698, 704 (Fed. Cir. 2012). “Summary judgment is proper if no reasonable jury

could find that the patent is not anticipated.” Zenith Elecs. Corp. v. PDI Commc’n

Sys., Inc., 522 F.3d 1348, 1357 (Fed. Cir. 2008). At summary judgment, the Court

“must also take into account that invalidity of a patent must be shown by clear and

convincing evidence.” Ivera Med. Corp. v. Hospira, Inc., 801 F.3d 1336, 1343 (Fed.

Cir. 2015).

IV.      ARGUMENT
         Furlong anticipates each and every limitation of the Asserted Claims of the

’537 Patent. Accordingly, the Asserted Claims are invalid under 35 U.S.C. § 102(b),

requiring dismissal of this action with prejudice.

         A.     Anticipation is a basis to invalidate an issued patent.
         An issued patent is presumed valid. 35 U.S.C. § 282. Although the law

requires clear and convincing evidence to invalidate a patent, prior art not

considered by the patent examiner will more easily overcome the presumption of



{B1327049.13}                            7
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 10 of 29




validity. Hybritech Inc. v. Monoclonal Antibodies, Inc., 802 F.2d 1367, 1375 (Fed.

Cir. 1986); EWP Corp. v. Reliance Univ., Inc., 755 F.2d 898, 905 (Fed. Cir. 1985).

         One basis of invalidity is anticipation. 35 U.S.C. § 102. “To anticipate a claim,

a prior art reference must disclose every limitation of the claimed invention, either

explicitly or inherently.” In re Schreiber, 128 F.3d 1473, 1477 (Fed. Cir. 1997). An

inherent disclosure, to be invalidating as an “anticipation,” is a disclosure that is

necessarily contained in the prior art, and would be so recognized by a person of

ordinary skill in that art. Continental Can Co. USA, Inc. v. Monsanto Co., 948 F.2d

1264, 1268-69 (Fed. Cir. 1991). Anticipation is an issue of fact, and the question

whether a claim limitation is inherent in a prior art reference is a factual issue on

which evidence may be introduced. In re Schreiber, 128 F.3d at 1477.

         Anticipatory prior art references under 35 U.S.C. § 102(b) are a bar to

patentability. Section 102(b) references are those that were “described in a printed

publication or in public use…more than one year prior to the date of the application

for patent in the United States.” “The bar is grounded on the principle that once an

invention is in the public domain, it is no longer patentable by anyone.” Application

of Bayer, 568 F.2d 1357, 1361 (C.C.P.A. 1978).

         “Because there are many ways in which a [prior art] reference may be

disseminated to the interested public, ‘public accessibility’ has been called the


{B1327049.13}                             8
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 11 of 29




touchstone in determining whether a reference constitutes a ‘printed publication’ bar

under 35 U.S.C. § 102(b).” In re Hall, 781 F.2d 897, 898-99 (Fed. Cir. 1986). “A

given reference is ‘publicly accessible’ upon a satisfactory showing that such

document has been disseminated or otherwise made available to the extent that

persons interested and ordinarily skilled in the subject matter or art exercising

reasonable diligence, can locate it.” Bruckelmyer v. Ground Heaters, Inc., 445 F.3d

1374, 1378 (Fed. Cir. 2006).

         B.     Claim construction is no impediment to ruling on Defendants’
                Motion.
         Ruling on this Motion requires no complex claim construction analysis. In

claim construction, it is the judge (not the jury) who decides as a matter of law how

to interpret the language of a patent claim. See Markman v. Westview Instruments,

Inc., 517 U.S. 370, 388-89 (1996). In interpreting a claim, a court must first look to

the “intrinsic evidence,” which means the claims themselves, the patent’s own

written description, and its complete prosecution history. Vitronics Corp. v.

Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). Intrinsic evidence in the

record is the most significant source of legally operative meaning of a disputed

patent claim. Id.

         Courts also may rely on “extrinsic evidence,” which is evidence external to

the patent and prosecution history, such as expert and inventor testimony,


{B1327049.13}                           9
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 12 of 29




dictionaries, and learned treatises. Phillips v. AWH Corp., 415 F.3d 1303, 1317 (Fed.

Cir. 2005). In general, extrinsic evidence is “less reliable than the patent and its

prosecution history in determining how to read claim terms.” Id. at 1318. Although

the use of extrinsic evidence should not improperly restrict the role of the

specification in claim construction, “judges are free to consult dictionaries and

technical treatises ‘at any time in order to better understand the underlying

technology and may also rely on dictionary definitions when construing claim terms,

so long as the dictionary definition does not contradict any definition found in or

ascertained by a reading of the patent documents.’” Id. at 1320-23 (quoting

Vitronics, 90 F.3d at 1584 n. 6).

         As noted above, all of the Asserted Claims require a structural beam having a

“prefabricated structural concrete portion.” To the extent this Court believes it

necessary to construe this term, Defendants assert that “prefabricate” should be

given its plain and ordinary meaning, to wit, to precast, or alternatively, to fabricate

beforehand. As noted earlier, this is consistent with the specification of the ’537

Patent: “Prefabricated concrete portion 3 of beam 1 is preferably constructed at on

off-site facility utilizing any precasting or prefabrication method as are widely




{B1327049.13}                            10
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 13 of 29




known in the art, or as may be later developed.” Ex. 1, ’537 Patent at 3:18-21

(emphasis added).6

         This construction is also consistent with LBH’s prior statements using the

term “precast” interchangeably with the term “prefabricated.” For example, LBH

equates the terms “prefabricate” and “precast” throughout its Complaint: “Dr. Ley’s

partially precast concrete beam inventions are recited in claims 1-7 of the ’537 Patent

(hereinafter, the ‘Partially Precast Concrete Beam Technology’).” LBH’s Complaint

[Dkt. No. 1] at ¶ 22. Further, LBH’s July 15, 2013 PowerPoint presentation (upon

which it relies as its basis for notice to Defendants of the ’537 Patent) tellingly is

titled: “Partial Precast Inverted T Cap.” Id. at ¶ 31; id. at Ex. B [Dkt. No. 1-2] at

pp. 2 & 18 (2013 presentation filed by LBH).

         Defendants are aware of no other potential claim construction issues bearing

on this Motion.

         C.     Furlong invalidates all of the Asserted Claims in the ’537 Patent.
         There is no dispute that Furlong teaches each and every element of the

Asserted Claims, regardless of claim construction. In addition to the analysis below,

Defendants refer the Court to Exhibit E to the Declaration of Dr. Maher K. Tadros,



6
  Indeed, as demonstrated below, it is difficult to imagine any construction of
“prefabricate” that would save the ’537 Patent from invalidity in view of Furlong.

{B1327049.13}                           11
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 14 of 29




P.E.,7 which is a detailed claim chart mapping each limitation of each Asserted

Claim to Furlong. See Tadros Ex. E.8

                1. Claim 1
         Each claim limitation of claim 1 of the ’537 Patent is disclosed by Furlong:

                  [1A] A structural concrete beam, comprising:

         Furlong discloses a stage-cast inverted-T beam constructed of a web cast in

place against a preloaded flange. Ex. 3, Furlong at Abstract (PTG-LBH_0206043).

Furlong notes that “[s]tage cast inverted-T beams are commonly used as structural

members such as bent cap girders in highway bridges….” Id. at p. 1. The ’537 Patent

specifically identifies a “bent cap” as an example of structural concrete beam. Ex. 1,

’537 Patent at 1:38-40; see also Tadros Ex. E at [1A].




7
  Dr. Tadros is presented here as an expert in the field of civil and structural
engineering. Tadros ¶¶ 2-16. He “is qualified as an expert by knowledge, skill,
experience, training, or education.” Fed. R. Evid. 702. Significantly, Dr. Tadros was
also a person skilled in the art of civil and structural engineering at the time of
Furlong (Aug. 1976) and at the filing of the ’537 Patent (Dec. 2005). Id.; see also
Ex. 7 at p. 8 and Ex. 8 at p. 6 (Ley representing to the patent examiner during
prosecution that a person skilled in the art as it pertains to the ’537 Patent is “that of
a sophisticated engineer.”).
8
 Dr. Tadros’s declaration is cited herein as “Tadros ¶ __.” Exhibits to his declaration
are cited herein as “Tadros Ex. __.”

{B1327049.13}                            12
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 15 of 29




                [1B] a lowermost-prefabricated structural concrete portion having
                     an uppermost point and a lowermost point;

         Furlong discloses a “preloaded (precast) flange” and notes that “[t]he bridge

construction procedure involves an inverted T-beam bent cap constructed by using

the flange as a structural member to support stringers and formwork for the cast-in-

place web of the stage-cast T-beam.” Ex. 3, Furlong at pp. 1 & 4. As shown in

annotated Fig. 1.1(a) of Furlong, the precast flange is the lowermost portion of the

inverted-T beam, and inherently has an uppermost point and a lowermost point:




Ex. 3, Furlong at p. 2 (color added); Tadros Ex. E at [1B].

                [1C] an uppermost poured-in-place structural concrete portion,
                     wherein said poured-in-place structural concrete portion
                     comprises at least ten percent of the total weight of said
                     structural concrete beam;

         Furlong discloses that “[t]he bridge construction procedure involves an

inverted T-beam bent cap constructed by using the flange as a structural member to



{B1327049.13}                            13
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 16 of 29




support stringers and formwork for the cast-in-place web of the stage-cast T-beam.”

Ex. 3, Furlong at p. 1. As shown in annotated Fig. 1.1(a) of Furlong, the poured-in-

place web (red) is the uppermost portion of the inverted-T beam (red + yellow):




Ex. 3, Furlong at p. 2 (color added); see also Tadros Ex. E at [1C].

         Furlong discloses an inverted-T bent cap having a flange portion six inches

deep (identified by Furlong as embodiment BMSP1), with the uppermost point of

the web portion extending approximately 16 inches above the uppermost point of

the flange portion:9




9
 Furlong was a research report and the inverted-T beams studied were laboratory
models never installed in an actual roadway. Furlong specifically addresses this at
page 7, noting that the web and flange dimensions were selected to “make the
dimensions of the beam proportional to those usually adopted for high bridge bent
caps.” Tadros ¶ 30.

{B1327049.13}                           14
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 17 of 29




                                       BMSP1

Ex. 3, Furlong at p. 9. A stage-cast inverted-T bent cap constructed pursuant to this

ratio would necessarily result in a poured-in-place structural concrete portion greater

than ten percent of the total weight of the overall structural concrete beam.

Specifically, the poured-in-place web portion of embodiment BMSP1 is

approximately 47% of the total weight of the inverted-T beam. Tadros ¶¶ 28-29;

Tadros Ex. F (detailed calculations); Tadros Ex. E at [1C].

                [1D] wherein said uppermost poured-in-place structural concrete
                     portion extends substantially above said uppermost point of
                     said lowermost prefabricated structural concrete portion;

         As shown in annotated Fig. 1.1(a) of Furlong, the poured-in-place web (red)

extends above the uppermost point of the precast flange (yellow):




{B1327049.13}                           15
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 18 of 29




Ex. 3, Furlong at p. 2 (color added); see also Tadros Ex. E at [1D].

                [1E] wherein said uppermost poured-in-place                portion    is
                     constructed utilizing temporary formwork;

         Furlong discloses that temporary formwork supported by the precast flange

(yellow) is utilized to construct the poured-in-place web portion (red): “The bridge

construction procedure involves an inverted T-beam bent cap constructed by using

the flange as a structural member to support stringers and formwork for the cast-in-

place web of the stage-cast T-beam.” Ex. 3, Furlong at pp. 1 & 13-14 (describing

procedure for forming pour-in-place web potion); see also Tadros Ex. E at [1E].

                [1F] wherein said lowermost prefabricated structural concrete
                     portion is sufficiently strong to support the moment load
                     produced by the placement of fresh concrete of the poured-in-
                     place portion and the self-weight of the prefabricated portion
                     itself;

         Furlong discloses that the precast flange is sufficiently strong to support its

own weight and the weight of the fresh concrete for the pour-in-place web. It states


{B1327049.13}                            16
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 19 of 29




that: “In the cantilevered portion of a bent cap the bottom portion of the flange is put

into compression as it supports the stringers, formwork, its own weight, and the

weight of the deck slab and web before the web gains strength.” Ex. 3, Furlong at

pp. 1 & 19 (describing load testing of precast flange); see also Tadros Ex. E at [1F].

                [1G] reinforcing extending from said lowermost prefabricated
                     structural concrete portion into said uppermost poured-in-
                     place structural concrete portion;

         Furlong teaches that reinforcing steel “extend[s] outside on top” of the precast

flange into the poured-in-place web and notes that “Grade 60 steel was used in all

beams to provide main (flexural) reinforcement as well as shear bracket

reinforcement.” Ex. 3, Furlong at pp. 13 & 16. Annotated Fig. 2.1 of Furlong

illustrates the reinforcing steel (in green) extending from the precast flange portion

into the poured-in-place web portion:




{B1327049.13}                             17
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 20 of 29




Ex. 3, Furlong at p. 9 (color added); see also Tadros ¶¶ 27-29; Tadros Ex. E at [1G];

Tadros Ex. F.

                [1H] said structural concrete beam is an inverted-T beam and

         Furlong discloses an inverted-T beam for use in bridge construction: “The

bridge construction procedure involves an inverted T-beam bent cap constructed by

using the flange as a structural member to support stringers and formwork for the

cast-in-place web of the stage-cast T-beam.” Ex. 3, Furlong at p. 1. Furlong further

illustrates this in Fig. 1.1(a), with the poured-in-place web (annotated in red) and the

precast flange (annotated in yellow) forming a structural beam with an inverted-T

cross-section:




{B1327049.13}                           18
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 21 of 29




Ex. 3, Furlong at p. 2 (color added); see also Tadros Ex. E at [1H].

                [1I] wherein said prefabricated structural concrete portion forms
                     the horizontal corbel of said inverted-T beam and said
                     poured-in-place portion forms the vertical web portion of said
                     inverted-T beam.

         Fig. 1.1(a) of Furlong, annotated below, discloses an inverted-T beam having

a poured-in-place web portion (red) and a precast flange portion (yellow), the latter

of which acts as the horizontal corbels that supports the weight of the girders:




{B1327049.13}                           19
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 22 of 29




Ex. 3, Furlong at p. 2 (horizontal corbels at red arrows) (color added); see also

Tadros Ex. E at [1I].

                2. Claim 2
                  [2A] A structural concrete beam, comprising:

         Furlong discloses this limitation for the same reasons described above with

respect to element [1A]. See also Tadros Ex. E at [2A].

                  [2B] a prefabricated structural concrete portion;

         Furlong discloses this limitation for the same reasons described above with

respect to element [1B]. See also Tadros Ex. E at [2B].

                  [2C] a poured-in-place structural concrete portion, wherein said
                       poured-in-place portion comprises at least ten percent of the
                       total weight of said structural concrete beam;

         Furlong discloses this limitation for the same reasons described above with

respect to element [1C]. See also Tadros Ex. E at [2C].

                  [2D] wherein said poured-in-place structural concrete portion is
                       constructed utilizing temporary formwork and wherein the
                       prefabricated structural concrete portion is sufficiently
                       strong to support the moment load produced by the
                       placement of fresh concrete of the poured-in-place portion
                       and the self-weight of the prefabricated portion itself;

         Furlong discloses this limitation for the same reasons described above with

respect to elements [1E] and [1F]. See also Tadros Ex. E at [2D].




{B1327049.13}                             20
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 23 of 29




                  [2E] reinforcing extending from said prefabricated structural
                       concrete portion into said poured-in-place structural concrete
                       portion; and

         Furlong discloses this limitation for the same reasons described above with

respect to element [1G]. See also Tadros Ex. E at [2E].

                  [2F] wherein said structural concrete beam is an “inverted-T”
                       beam.

         Furlong discloses this limitation for the same reasons described above with

respect to element [1H]. See also Tadros Ex. E at [2F].

                3. Claim 3
                  [3]   A structural concrete beam according to claim 2, wherein:
                        said structural concrete beam is connected to a support
                        column.

         Furlong discloses an inverted-T structural concrete beam connected to a

support column. Specifically, Fig. 1.1 depicts the inverted-T bent cap positioned on

the top of two piers:




{B1327049.13}                             21
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 24 of 29




Ex. 3, Furlong at p. 2 (connection at red arrows).

         Furlong describes the structural beam shown in Figure 1.1 as being an

inverted-T bent cap. Furlong states, “The bridge construction procedure involves an

inverted T-beam bent cap constructed by using the flange as a structural member to

support stringers and formwork for the cast-in-place web of the stage-cast T-beam.”

{B1327049.13}                          22
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 25 of 29




Ex. 3, Furlong at p. 1. As explained by Dr. Tadros, bent caps are designed to be

connected to support columns: “Skilled artisans in the bridge construction field

know that bent caps are one of the major bridge components, with the bent cap being

connected to the piers so that it can disperse the load to the piers below.” Tadros

¶ 26. Dr. Tadros also explains that “[i]t was common knowledge to those in the

bridge construction industry in 1976 (and in December 2005) that an inverted-T

beam can be connected to support piers or columns in any number of ways, including

grouted voids with overlapped bars and welded plate connections.” Id. This is

consistent with the ’537 Patent, which states that any connection method known to

a person having ordinary skill in the art may be utilized for this connection:

“Numerous alternatives will be apparent to those of skill in the art, and any such

means of connecting or otherwise supporting structural concrete beam 1 on columns

2 may be utilized without detracting from the present invention. Such alternatives

may include, without limitation: field welded steel connections, threaded bars with

plates, guy wires, welded rebar, and gravity.” Ex. 1, ’537 Patent at 4:64-5:3

(emphasis added); see also Tadros ¶ 26; Tadros Ex. E at [3].




{B1327049.13}                         23
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 26 of 29




                4. Claims 5-7
                  [5]   A structural concrete beam according to claim 2, wherein:
                        said poured-in-place portion comprises at least twenty
                        percent of the total weight of said structural concrete beam.

                  [6]   A structural concrete beam according to claim 2, wherein:
                        said poured-in-place portion comprises at least thirty percent
                        of the total weight of said structural concrete beam.

                  [7]   A structural concrete beam according to claim 2, wherein:
                        said poured-in-place portion comprises at least forty percent
                        of the total weight of said structural concrete beam.

         Independent claim 2 requires that the poured-in-place portion comprises at

least 10% of the total weight of said structural concrete beam. Dependent claims 5-

7 narrow the ratio to 20%, 30%, and 40%, respectively. Furlong discloses a ratio of

47%, and therefore anticipates these numerical limitations as described above with

respect to element [1C]. Specifically, the poured-in-place web portion of

embodiment BMSP1 is approximately 47% of the total weight of the inverted-T

beam. Tadros ¶¶ 28-29; Tadros Ex. F (detailed calculations); Tadros Ex. E at [1C];

see Ex. 3, Furlong at p. 9.

V.       CONCLUSION
         For the foregoing reasons, the Court should grant Defendants’ Motion for

Summary Judgment and find that claims 1-3 and 5-7 of the ’537 Patent are invalid

as anticipated by Furlong. Because these are all of the Asserted Claims in this action,

dismissal of this action with prejudice is requested.


{B1327049.13}                              24
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 27 of 29




         Dated: September 18, 2020

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{B1327049.13}                        25
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 28 of 29




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{B1327049.13}                        26
       Case 1:19-cv-04477-LMM Document 115-1 Filed 09/18/20 Page 29 of 29




                CERTIFICATE OF FONT AND POINT SELECTION

         Undersigned counsel hereby certifies, pursuant to LR 7.1(D), N.D.Ga., that

the foregoing was prepared in Times New Roman, 14 point font, which is one of the

font and point selections approved in LR 5.1, N.D.Ga.

                                             /s/ Todd M. Heffner
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                           CERTIFICATE OF SERVICE

         I hereby certify that I have this day filed the foregoing document with the

CM/ECF electronic filing system, which sent electronic notification to all counsel

of record.

         Dated: September 18, 2020

                                             /s/ Todd M. Heffner
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{B1327049.13}                           27
